Case No. 1:13-cr-00392-CMA Document 1-1 filed 09/23/13 USDC Colorado pg 1 of 2

DEFENDANT: GEORGE THOMAS BROKAW

DOB: 1945
Colorado Springs, CO 80918

COMPLAINT FILED? YES X_NO

18 U.S.C. § 286 - Conspiracy to File False Claims for

OFFENSE: Count1:

Refund
Counts 2 — 7: 18 U.S.C. § 287 — False Claim for Refund (Form
1099-OID)
Count 14: 18 U.S.C. § 371 — Conspiracy to Corruptly Endeavor

to Obstruct or Impede the Due
Administration of the Internal. Revenue Laws x

Count 15: 26 U.S.C. § 7212(a) and 18 U.S.C. §2—Corrupt _
Endeavor to Obstruct or Impede the Due
Administration of the Internal Revenue Laws and

Aiding and Abetting
LOCATION.OF OFFENSE: El Paso County, Colorado
PENALTY: Count 1: NMT 10 years imprisonment; NMT

$250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment

NMT 5 years imprisonment; NMT
$250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment...

Count 14:. NMT 5 years imprisonment; NMT oy
$250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment :

NMT 3 years imprisonment; NMT $5,000 fine, or
-both; NMT ‘1 year supervised release; and $100
Special Assessment

AGENT: Special Agent Adam Rutkowski, IRS Cl.
Special Agent Klaton Knabb, TIGTA
Case No. 1:13-cr-00392-CMA Document 1-1 filed 09/23/13 USDC Colorado. pg 2 of 2

AUTHORIZED BY: Matthew T. Kirsch Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:
five days or less.
X_ over five days _
other

THE GOVERNMENT —
____ will seek detention in this case
X__ will not seek detention in this case

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE: Yes X No
